            Case 1:21-cr-00687-RC Document 106 Filed 04/25/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :
                                                    :
       v.                                           :       Criminal Action No.: 21-0687 (RC)
                                                    :
DAVID CHARLES RHINE,                                :
                                                    :
       Defendant.                                   :

                             SENTENCING SCHEDULING ORDER

       It is hereby ORDERED that the following schedule shall govern the sentencing

proceedings in this case:

             1. sentencing in this matter is set for September 11, 2023 at 2:00 p.m. via video

                teleconference;

             2. the probation officer assigned to this case shall disclose the draft pre-sentence

                investigation report to the parties no later than July 24, 2023;

             3. counsel shall submit objections (if any) to the draft pre-sentence investigation

                report to the probation officer no later than August 7, 2023;

             4. the probation officer shall disclose to the parties and file with the Court the final

                pre-sentence investigation report no later than August 21, 2023 and

             5. any party wishing to submit a memorandum in aid of sentencing must do so no

                later than August 28, 2023, with all responses (if any) due by September 5, 2023,

                and all such memoranda and responses thereto must cite to supporting legal

                authority.

       SO ORDERED.


Dated: April 25, 2023                                                RUDOLPH CONTRERAS
                                                                     United States District Judge
